    Case 2:10-cr-00204-NJB-JVM              Document 1375          Filed 05/23/16       Page 1 of 2




                               UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                  CRIMINAL ACTION

VERSUS

KENNETH BOWEN                                                             NO. 10-204
ROBERT GISEVIUS
ROBERT FAULCON
ANTHONY VILLAVASO
ARTHUR KAUFMAN
GERARD DUGUE                                                              SECTION "N" (1)

                                   ORDER AND REASONS

                 Presently before the Court is the "Motion to Have Anthony Villavaso Serve the

Remainder of his Time (3 Months) on Home Confinement" (Rec. Doc. 1372). Having carefully

considered Mr. Villavaso's motion, the Government's memorandum in response (Rec. Doc. 1374),

and the record in this matter, IT IS ORDERED that the motion is DENIED to the extent it asks that

Mr. Villavaso be allowed to bypass normal Bureau of Prisons procedures and serve the remainder

of his sentence on home confinement.1

                 Given the Government's consent, however, IT IS ORDERED that Mr. Villavaso

shall be temporarily released from custody solely for the purpose of attending the May 25, 2016


        1
                 According to Mr. Villavaso's motion, the United States Probation Department has determined
his expected release date to be August 16, 2016.

                                                    1
   Case 2:10-cr-00204-NJB-JVM            Document 1375         Filed 05/23/16      Page 2 of 2




important family event discussed in the parties' written submissions and at the April 20, 2016

sentencing. Defense counsel, the Government, the United States Marshal's Service, and the

probation officer are instructed to confer and negotiate the conditions necessary for that temporary

release, including attendant security measures, with all such matters being approved by both the

United States Probation Office and the United States Marshal's Service. Finally, once the necessary

plans are made, IT IS FURTHER ORDERED that they be communicated to the Court in writing.

               New Orleans, Louisiana, this 20th day of May 2016.




                                              _______________________________________
                                              KURT D. ENGELHARDT
                                              Chief Judge, United States District Court




                                                 2
